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                 United States Court of Appeals
                             FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                      ____________
No. 21-5038                                                 September Term, 2021
                                                                      1:20-cv-00104-CRC
                                                       Filed On: October 1, 2021
John H. Page,

              Appellant

       v.

Joseph R. Biden, Jr., In his official capacity as
President of the United States,

              Appellee


       BEFORE:       Rogers, Millett, and Katsas, Circuit Judges

                                         ORDER

       Upon consideration of the motion for injunction, the opposition thereto, and the
reply; and the motion for summary affirmance and the opposition thereto, it is

        ORDERED that the motion for summary affirmance be granted. The merits of
the parties’ positions are so clear as to warrant summary action. See Taxpayers
Watchdog, Inc. v. Stanley, 819 F.2d 294, 297 (D.C. Cir. 1987) (per curiam). The district
court correctly dismissed appellant’s complaint for lack of jurisdiction. Appellant seeks
an injunction requiring the President of the United States “to immediately correct all
census returns to show the State of Columbia” and requiring “immediate transmittal of
those amended census returns to Congress.” However, “[w]ith regard to the President,
courts do not have jurisdiction to enjoin him, and have never submitted the President to
declaratory relief.” Newdow v. Roberts, 603 F.3d 1002, 1013 (D.C. Cir. 2010) (internal
citations omitted); see also Swan v. Clinton, 100 F.3d 973, 977-78 (D.C. Cir. 1996).
Moreover, appellant has not challenged on appeal the district court’s decision not to
allow him to amend the complaint to add another defendant or its denial of his request
for reconsideration. See U.S. ex rel. Totten v. Bombardier Corp., 380 F.3d 488, 497
(D.C. Cir. 2004) (“Ordinarily, arguments that parties do not make on appeal are deemed
to have been waived.”). It is

       FURTHER ORDERED that the motion for injunction be dismissed as moot.

        Pursuant to D.C. Circuit Rule 36, this disposition will not be published. The Clerk
is directed to withhold issuance of the mandate herein until seven days after resolution
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                 United States Court of Appeals
                            FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                     ____________
No. 21-5038                                                September Term, 2021

of any timely petition for rehearing or petition for rehearing en banc. See Fed. R. App.
P. 41(b); D.C. Cir. Rule 41.

                                       Per Curiam


                                                         FOR THE COURT:
                                                         Mark J. Langer, Clerk

                                                 BY:     /s/
                                                         Manuel J. Castro
                                                         Deputy Clerk




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